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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District
                                                     __________  DistrictofofCalifornia
                                                                              __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.   23mj4058-DEB
 White Apple iPhone with a black case, bearing SKU:                          )
 CLNRAPLXS64S-DPC, H/M/D 357201097250230,                                    )
  seized under FBI case number 305B-SD-3792532
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated herein by reference.

located in the             Southern               District of                 California                , there is now concealed (identify the
person or describe the property to be seized):


 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18, USC sec. 2422(b)                      Attempted Coercion and Enticement of a Minor



          The application is based on these facts:
        See Attached Affidavit of Special Deputy US Marshal Steven Anderson, incorporated herein by reference.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                      Steven Anderson, Special Deputy U.S. Marshal
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            11/03/2023
                                                                                                         Judge’s signature

City and state: San Diego, California                                                 Hon. Daniel E. Butcher, U.S. Magistrate Judge
                                                                                                       Printed name and title
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1          AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH
2                                        WARRANT
3          I, Steven Anderson, Police Officer with the National City Police
4    Department, Task Force Officer with the San Diego Human Trafficking Task
5    Force, and Special Deputy United States Marshal, being duly sworn, hereby state
6    as follows:
7                                    INTRODUCTION
8          1.      I make this affidavit in support of an application for a search warrant
9    to search the following electronic device, as described in Attachment A and seize
10   evidence of crimes, specifically, violations of Title 18, United States Code, Section
11   2422(b), as more particularly described in Attachment B:
12         White Apple iPhone with a black case, bearing SKU:
13         CLNRAPLXS64S-DPC, H/M/D 357201097250230, seized
14         under FBI case number 305B-SD-3792532 (Target Device)
15   This search supports an investigation conducted by the FBI and San Diego Human
16   Trafficking Task Force (SDHTTF) into James Edward Marlett (MARLETT)
17   who is suspected of committing one or more of the crimes mentioned above. A
18   factual explanation supporting probable cause follows.
19         2.      The Target Device was seized following the arrest of MARLETT for
20   attempting to persuade, induce, entice, and coerce an individual whom he believed
21   was under the age of 18 to engage in unlawful sexual activity for which a person
22   could be charged with a criminal offense. The Target Device is currently in the
23   possession of the FBI.
24         3.      Based on the information below, there is probable cause to believe
25   that a search of the Target Device will produce evidence of the aforementioned
26   crimes, as described in Attachment B.
27
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1          4.     The information set forth in this affidavit is based on my own personal
2    knowledge, knowledge obtained from other individuals during my participation in
3    this investigation, including other law enforcement officers, my review of
4    documents and computer records related to this investigation, communications
5    with others who have personal knowledge of the events and circumstances
6    described herein, and information gained through my training and experience.
7    Because this affidavit is submitted for the limited purpose of obtaining a search
8    warrant for the Target Device, it does not set forth each and every fact that I or
9    others have learned during the course of this investigation, but only contains those
10   facts believed to be necessary to establish probable cause.
11                          EXPERIENCE AND TRAINING
12         5.     I am currently employed as a peace officer with the National City
13   Police Department (NCPD) and have been so employed since December of 2015.
14   I am currently assigned as a Task Force Officer (TFO) on the San Diego Human
15   Trafficking Task Force (SDHTTF), where I investigate pimping, pandering, sex
16   trafficking, and labor trafficking. My previous assignments have included the
17   Patrol Division and Homeless Outreach Team.
18         6.     My experience as a peace officer has included the investigation of
19   cases involving the use of computers and the internet to commit crimes. I have
20   received training and gained experience in interviewing and interrogation
21   techniques, arrest procedures, search warrant applications, the execution of
22   searches and seizures, computer evidence seizure and processing, and various other
23   criminal laws and procedures. I have personally participated in the execution of
24   search warrants involving the search and seizure of cellular telephones, social
25   media accounts, and other electronic devices.
26         7.     Through my training, experience, and consultation with other law
27   enforcement officers, I have learned that:

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1             a.     There are certain characteristics common to many individuals
2       involved in sexually exploiting children online and receiving, distributing or
3       collecting child pornography.
4             b.     Those who sexually exploit children online and exchange or
5       collect child pornography may receive sexual gratification, stimulation, and
6       satisfaction from contact with children; from fantasies they may have
7       viewing children engaged in sexual activity or in sexually suggestive poses,
8       such as in person, in photographs, or other visual media; or from literature
9       and communications about such activity.
10            c.     Those who sexually exploit children online and trade or collect
11      child pornography may collect sexually explicit or suggestive materials, in
12      a variety of mediums, including photographs, magazines, motion pictures,
13      video tapes, books, slides or drawings, or other visual media, including
14      digital files. Child pornography collectors oftentimes use these materials for
15      their own sexual arousal and gratification. Further, they may use these
16      materials to lower the inhibitions of children they are attempting to seduce,
17      to arouse the selected child partner, or to demonstrate the desired sexual acts.
18            d.      In recent cases, some people who have a sexual interest in
19      children have been found to download, view, then delete child pornography
20      on a cyclical and repetitive basis, and to regularly delete any
21      communications about the sexual abuse of children rather than storing such
22      evidence on their computers or digital devices. Traces of such activity can
23      often be found on such people’s computers or digital devices, for months or
24      even years after any downloaded files have been deleted.
25            e.     When     images    and       videos   of   child   pornography   or
26      communications about sexual abuse of children are stored on computers or
27      computer servers, forensic evidence of the downloading, saving, and storage

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1       of such evidence may remain on the computers or digital media for months
2       or even years even after such images and videos have been deleted from the
3       computers or digital media.
4             f.    Computers, to include mobile computing devices such as
5       smartphones, and the internet have revolutionized the way in which child
6       pornography is produced, distributed, and utilized. They have also
7       revolutionized the way in which those who have a sexual interest in children
8       interact with each other and with minors; adding to the methods used by
9       child pornography collectors to trade child exploitation materials and to
10      sexually exploit children online. Computers and the internet serve four
11      functions in connection with child pornography and the sexual exploitation
12      of minors. These are production, communication, distribution, and storage.
13            g.    Internet-based communication structures are ideal for the child
14      pornography collectors or those seeking to sexually exploit children. Having
15      both open and anonymous communication capabilities allows the user to
16      maintain their anonymity while locating others of similar inclination, or to
17      hide their true identity while seeking out minors online. Once contact has
18      been established, it is then possible to send messages and graphic images to
19      other trusted child pornography collectors, or to convince a child to send
20      such images or meet for the purpose of sexual activity. Individuals seeking
21      to engage in such activities can use standard internet connections to
22      communicate with one another and distribute pornography. These
23      communication links easily facilitate contacts around the world.
24      Additionally, these communications can be quick, relatively secure, and as
25      anonymous as desired.
26            h.    A growing phenomenon related to smartphones and other
27      mobile computing devices is the use of instant messaging through mobile

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1            applications. Mobile applications, also referred to as “apps,” are small,
2            specialized programs downloaded onto mobile devices that enable users to
3            perform a variety of functions, including engaging in online chat or playing
4            a game. Examples of such apps include LiveMe, Kik, Snapchat, Meet24,
5            and Instagram.
6                       FACTS IN SUPPORT OF PROBABLE CAUSE
7            8.      On July 19, 2023, an Undercover Investigator (UC) with the San Diego
8    Internet Crimes Against Children (ICAC) Task Force, posted an advertisement on
9    Craigslist 1. The title of the advertisement said, “NEW cellphone (National City)”.
10   The body of the advertisement stated, “help me get a new phone my parents
11   wont……. Willing to “work” for it IYKYK”. “IYKYK” is an acronym that stands
12   for “If you know you know”.
13
             9.      Subject, JAMES EDWARD MARLETT (MARLETT), responded to
14   the post via Gmail asking, “What kind of “WORK” are you willing to do?” He asked
15
     her if she was a female, and if she was into “sexual favors”. The UC continued to
16   communicate with MARLETT on Gmail. The UC told MARLETT she was thirteen
17
     years old, and MARLETT asked her if she was a virgin. He also told the UC he had
18   erectile dysfunction and the only thing he could do was eat her “juicy wet kitty”.
19
     MARLETT wanted to know more about her past sexual experiences and asked for a
20   picture of her. The UC sent MARLETT the phone number and they began
21
     communicating via the Apple iMessage service. Once MARLETT and the UC
22
     began texting, he moved the conversation immediately to a sexual nature and said,
23
     “and you would be okay with my tongue going inside of you?” The UC asked him
24
     “inside where” MARLETT replied, “Down there, your sweet juicy wet p---y”. He
25
26
     1
      An internet-based website used for viewing and posting local advertisements. It works like the classified
27   section of a newspaper.

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1    continued asking her about past sexual experiences and wanted to know if she had
2    orgasms or masturbated. As MARLETT described how he wanted to perform oral
3    copulation on her, the UC disclosed to him she was actually twelve years old.
4    MARLETT disclosed he was seventy-four years old.                 They continued
5    communicating in a sexual manner, and MARLETT told the UC the youngest person
6    he had been with was a fourteen-year-old, when he was eighteen years old. They
7    continued texting, and MARLETT offered to give her an iPhone 5 and continuous
8    meetings in the future. MARLETT proposed meeting the UC for sex the next day,
9    and they concluded their chats for the night.
10
           10.    On July 20, 2023, the UC and MARLETT continued texting.
11
     MARLETT offered to pick up the UC at Chick-Fil-A in National City for the
12   previously discussed sexual favors in exchange for an iPhone and her dirty
13
     underwear. He asked if she could wear her underwear “camel toe style” and asked
14   her if she had a lot of discharge. MARLETT sent the UC a picture of his vehicle, a
15
     2019 Audi convertible (California License Plate 9BQK351) and told her he would
16
     be there at 1430 hours.
17
           11.    Records check through law enforcement databases confirmed
18
     MARLETT’s identifying information revealed his name was JAMES EDWARD
19
     MARLETT with California driver’s license number R0088677, residing at 805
20
     Valley Avenue, Solana Beach, California 92075. MARLETT’s vehicle is registered
21
     to his home address.
22
23         12.    On July 20, 2023, MARLETT was stopped by uniformed National City
24   Patrol Units as he parked his vehicle at the Chick-Fil-A parking lot located at 400
25   Mile of Cars Way, National City, CA. 91950. Inside of MARLETT’s left front pants
26   pocket, was a white Apple iPhone with a black case, bearing SKU:
27   CLNRAPLXS64S-DPC, H/M/D 357201097250230 (Target Device).

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1           13.   During a post-Miranda interview, MARLETT admitted to the
2    interaction with the UC posing as a twelve-year-old on Craigslist, then over email,
3    and text messages. MARLETT used his true phone number while communicating
4    with the UC. MARLETT acknowledged the fact that he was meeting a twelve-year-
5    old for oral copulation. MARLETT also admitted to agreeing to exchange an iPhone
6    5 for a pair of the twelve-year old’s dirty underwear. Upon his arrest, an iPhone 5
7    was discovered in his vehicle after a consent search. MARLETT also consented to a
8    search of his cellphone where the messages between MARLETT and the UC were
9    located.
10
            14.   During the course of the investigation, the email address
11
     edmarlett@gmail.com was identified as being associated with MARLETT. On or
12   about August 8, 2023, a subpoena was sent to Craigslist for information from June
13
     1, 2023 to July 20, 2023 related to several identifiers including the
14   edmarlett@gmail.com email address. The responsive information included
15
     numerous posts from the June 1, 2023 to July 20, 2023 period 2 in which the
16   Craigslist user utilizing the edmarlett@gmail.com address sought out young females
17
     with suggestive sexual references such as “I’m still looking for something young,
18   juicy & wet! if you know where I can find them, HMU”, “young Female worn
19
     chonies ! If you want to get paid for some well used under clothing HMU”, and “I’m
20   still looking for used Chonies Especially from the young! I will pay 30$ to 35$ for
21
     the right ones, Interested? HMU”.
22
            15.   Based on the facts of this case, I believe that evidence of child
23
     exploitation crimes may be found on the Target Device. Additionally, the search
24
25
26
     2
       The responsive information also included posts from prior to June 1, 2023 in which
     the Craigslist user utilizing the edmarlett@gmail.com email address specifically
27   sought out adult females.
                                              7
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1    of the Target Device may also identify other victim or individuals engaged in child
2    exploitation.
3                                    METHODOLOGY
4          16.       It is not possible to determine, merely by knowing the mobile
5    electronic device’s make, model and serial number, the nature and types of services
6    to which the device is subscribed and the nature of the data stored on the device.
7    Mobile electronic Device, including cellular telephones and tablets, can be simple
8    cellular telephones and text message Device, can include cameras, can serve as
9    personal digital assistants and have functions such as calendars and full address
10   books and can be mini-computers allowing for electronic mail services, web
11   services and rudimentary word processing. An increasing number of cellular
12   service providers and installable software now allow for their subscribers and users
13   to access their device over the internet and remotely destroy all of the data
14   contained on the device. For that reason, the device may only be powered in a
15   secure environment or, if possible, started in “flight mode” which disables access
16   to the network. Unlike typical computers, many mobile electronic Device do not
17   have hard drives or hard drive equivalents and store information in volatile
18   memory within the device or in memory cards inserted into the device. Current
19   technology provides some solutions for acquiring some of the data stored in some
20   mobile electronic device models using forensic hardware and software. Even if
21   some of the stored information on the device may be acquired forensically, not all
22   of the data subject to seizure may be so acquired. For Device that are not subject
23   to forensic data acquisition or that have potentially relevant data stored that is not
24   subject to such acquisition, the examiner must inspect the device manually and
25   record the process and the results using digital photography. This process is time
26   and labor intensive and may take weeks or longer.
27
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1             17.    Following the issuance of this warrant, I will collect the Target
2    Device and subject them to analysis. All forensic analysis of the data contained
3    within the Target Device and their memory cards will employ search protocols
4    directed exclusively to the identification and extraction of data within the scope of
5    this warrant.
6             18.    Based on the foregoing, identifying and extracting data subject to
7    seizure pursuant to this warrant may require a range of data analysis techniques,
8    including manual review, and, consequently, may take weeks or months. The
9    personnel conducting the identification and extraction of data will complete the
10   analysis within ninety (90) days, absent further application to this court.
11                    GENUINE RISK OF DESTRUCTION OF DATA
12            19.    Based upon my experience and training, and the experience and
13   training of other law enforcement agents with whom I have communicated,
14   electronically stored data may be permanently deleted or modified by users
15   possessing basic computer skills. In this case, no genuine risk of destruction exists
16   as the property to be searched is already in the custody of law enforcement
17   personnel.
18                        PRIOR ATTEMPTS TO OBTAIN DATA
19            20.    Law enforcement previously reviewed content stored within the
20   Target Device as set forth in paragraph 13, above.
21   //
22   //
23   //
24   //
25   //
26   //
27   //

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1                                    CONCLUSION
2          21.   Based on the foregoing, I believe there is probable cause to believe
3    items that constitute evidence, fruits, and instrumentalities of violations of
4    federal criminal law, namely, 18 U.S.C. §§ 2422(b) as described in Attachment B
5    will be found in the properties to be searched, as provided in Attachment A.
6
7
8                                                 __________________________
                                                  Steven Anderson
9
                                                  Police Detective / TFO
10                                                Special Deputy U.S. Marshal
11
12
     Attested to by the applicant in accordance with the requirements of Fed. R.
13
     Crim. P. 4.1 by telephone on this 3rd day of November, 2023.
14
15
16
                                           ________________________________
17
                                           HONORABLE DANIEL E. BUTCHER
18                                         United States Magistrate Judge
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1                                   ATTACHMENT A
2                              ITEMS TO BE SEARCHED
3    The property/items to be searched is/are described as follows:
4          White Apple iPhone with a black case, bearing SKU:
5          CLNRAPLXS64S-DPC, H/M/D 357201097250230, seized
6          under FBI case number 305B-SD-3792532 (Target Device)
7    The Target Device is currently being held at FBI San Diego Field Office located at
8    10385 Vista Sorrento Parkway, San Diego, CA, 92121.
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1                                     ATTACHMENT B
2                                  ITEMS TO BE SEIZED
3            Authorization to search the cellular telephone described in Attachment A
4    includes the search of disks, memory cards, deleted data, remnant data, slack space,
5    and temporary or permanent files contained on or in the cellular telephones. The
6    seizure and search of the cellular telephones will be conducted in accordance with
7    the affidavit submitted in support of the warrant.
8            The evidence to be seized from the cellular telephones will be electronic
9    records, communications, and data such as emails, text messages, photographs,
10   audio files, video, telephone numbers, contact information, web browsing history,
11   documents, data stored within applications, and location data, for the period from
12   June 1, 2023 up to and including July 20, 2023:
13      a.      Tending to indicate efforts to facilitate the coercion and enticement of a
14              minor and sexual exploitation of a minor;
15      b.      Tending to identify evidence of receipt, storage, or solicitation of sexually
16              explicit content from regarding, or of minors under the age of 18;
17      c.      Tending to identify accounts, facilities, storage devices, and/or services—
18              such as email addresses, IP addresses, and VOIP phone numbers—used to
19              facilitate the coercion and enticement of a minor and sexual exploitation
20              of a minor;
21      d.      Tending to identify evidence indicating how and when the cellular devices
22              were accessed or used to determine the chronological and geographic
23              context of account access, use, and events relating to the crime under
24              investigation and to the device owner;
25      e.      Tending to identify evidence, including but not limited to communications,
26              images, videos, audio files, search and web history, or notes, indicating the
27
                                                12
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1               device owner’s knowledge and intent as it relates to the coercion and
2               enticement of a minor and sexual exploitation of a minor;
3       f.      Tending to identify the user of, or persons with control over or access to,
4               the cellular devices; and/or
5       g.      Tending to place in context, identify the creator or recipient of, or establish
6               the time of creation or receipt of communications, records, or data involved
7               in the activities described above.
8
9    which are evidence of violations of Title 18, United States Code, Sections
10   2422(b)
11           The seizure and search of the cellular phones shall follow the procedures
12   outlined in the methodology section in the supporting affidavit. Deleted data,
13   remnant data, slack space, and temporary and permanent files on the cellular phones
14   may be searched for the evidence above.
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